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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

State of Illinois
                                    Plaintiff,
v.                                                     Case No.: 1:20−cv−03535
                                                       Honorable Mary M. Rowland
CSL PLASMA, INC., et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 15, 2022:


        MINUTE entry before the Honorable Sunil R. Harjani: In light of the discussion at
the status conference today, and after consultation with the district judge on case
management, the Court hereby stays expert discovery to allow the parties to resolve the
issue over the public accommodation rule through a partial summary judgment motion.
The parties may file any partial summary judgment motion on the public accommodation
issue by 4/15/22 for the district judge's consideration, or may enter into a limited consent
to the magistrate judge's jurisdiction with this Court for the purpose of resolving the
anticipated motion. By 4/15/22, the parties shall also file a proposed briefing schedule for
the remainder of the summary judgment proceedings. Once a ruling has been issued, this
Court will re−engage with the parties on settlement in an attempt to resolve the entirety of
this case. Mailed notice(lxs, )




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